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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


NANCY GIMENA HUISHA-HUISHA, on
behalf of herself and others similarly
situated, et al.,

  Plaintiffs,

                                         Civ. A. No. 21-100 (EGS)
      v.

ALEJANDRO MAYORKAS, Secretary of
Homeland Security, et al.,

   Defendants.


       REPLY MEMORANDM IN SUPPORT OF MOTION TO INTERVENE
       BY THE STATES OF ARIZONA, LOUISIANA, ALABAMA, ALASKA,
          KANSAS, KENTUCKY, MISSISSIPPI, MISSOURI, MONTANA,
         NEBRASKA, OHIO, OKLAHOMA, SOUTH CAROLINA, TEXAS,
       TENNESSEE, UTAH, VIRGINIA, WEST VIRGINIA, AND WYOMING
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                                        INTRODUCTION

        For most of 2022, it has been clear that CDC/DHS wanted three things: (1) to end Title 42,

(2) to do so with a delayed effective date so that DHS could prepare for the enormous challenges

that termination would cause—with DHS projecting that it would lead to an increase in attempted

unlawful border crossings from around 7,000 per day to as much as 18,000 per day, and (3) to

effectuate such termination without complying with APA notice-and-comment rulemaking

procedures.

        CDC’s first attempt to achieve these objectives came in the April 1 Termination Order, 87

Fed. Reg. 19,941 (2022). But 24 States challenged that Termination Order as violating the APA’s

notice-and-comment requirements and successfully obtained a preliminary injunction against

implementation of the Termination Order on that basis. See Louisiana v. CDC, __ F.Supp.3d __,

2022 WL 1604901 (W.D. La. May 20, 2022). Although CDC/DHS appealed that decision, they

did not seek a stay pending appeal or expedition, and thus that Louisiana injunction remains in full

force to this day.

        Then came this Court’s November 15 Order, when Defendants hatched Plan B to obtain

their objectives. Sensing an opportunity in their litigation defeat, Defendants sought to achieve

through collusion what they could not through rulemaking: a delayed end to Title 42 without APA

notice-and-comment compliance. Defendants thus agreed with Plaintiffs on a collusive

arrangement in which the parties jointly sought a 5-week stay that effectively recreates the

Termination Order but without the burden of APA compliance. In return, it is apparent that

Defendants intend to avoid taking any steps to obtain a stay that would prevent Title 42 from

ending on December 21—and indeed they have taken no such steps since this Court’s November

16 entry of the stay until this day. Left to their own devices, Defendants have given every indication
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that Title 42 will end, as planned, on December 21.

       Nor is this the first time that DHS has pulled this trick of employing strategic surrender to

eliminate unwanted rules without complying with the APA. The agency previously employed this

artifice to rid itself of the Public Charge Rule, and did so “with military precision to effect the

removal of the issue from [the Supreme Court’s] docket and to sidestep notice-and-comment

rulemaking” for repealing the unwanted rule. Transcript,1 Arizona v. San Francisco, 142 S. Ct.

1926, 45-46 (2022) (Alito, J.); see also id. at 48 (“The real issue to me is the evasion of notice-

and-comment. And, I mean, basically, the government bought itself a bunch of time [through the

acquiesced-in vacatur] where the rule was not in effect.”) (Kagan, J.). The same military precision

is at work here.

       To give a sense of the magnitude of the collusion at play here, consider the contradictions

in DHS’s/DOJ’s positions. Those Departments have argued in the Supreme Court this year that

both (1) the APA does not authorize vacatur as a remedy2 and (2) nationwide injunctions are

impermissible.3 Yet this Court’s order granted both a vacatur and a nationwide injunction. See

Doc. 165. And Defendants have given every indication that they intend to acquiesce in both of

those remedies that they are simultaneously arguing to the Supreme Court are categorically

unlawful. Except, apparently, when the Federal Government favors entry of them. Defendants’

“it’s legal when we say it’s legal” premise violates bedrock rule-of-law principles.

       The fundamental problem for Defendants’ attempted APA circumvention is that the



1
  Available at https://bit.ly/3VDDOfZ.
2
  See Brief for Federal Defendants at 40-44, United States v. Texas, No. 22-58 (U.S. Sept. 12,
2022), available at https://bit.ly/3Uotirj (arguing that the APA “Does Not Authorize Vacatur”).
3
  Transcript, Arizona v. San Francisco, at 71 (statement of U.S. Deputy Solicitor General that the
Federal Government has “pretty consistently” argued that “district courts lack the power to issue
nationwide injunctions”).


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Federal Rules specifically provide a mechanism for outside parties to thwart collusive

arrangements like this one: intervention under Rule 24. And the States here satisfy all of the

requirements for both intervention as of right and permissive intervention.

       As to intervention of right, potential impairment appears undisputed if the States possess a

protectable interest here. Which they do. While Plaintiffs and Defendants (collectively, “Existing

Parties”) spill much ink wrongly contending that the States lack Article III standing in the

underlying suit, this issue can be readily resolved on a far simpler ground: the Louisiana injunction

that the States obtained. It is undisputed that once this Court’s judgment/vacatur/injunction goes

into effect, it will effectively moot—i.e. destroy—the Louisiana injunction. And that Louisiana

injunction creates rights for the States, which will be incontestably impaired if intervention is

denied and Defendants’ planned acquiescence takes effect. See, e.g., NBA v. Minn. Pro. Basketball,

Ltd. P’ship, 56 F.3d 866, 871-72 (8th Cir. 1995) (“A preliminary injunction confers important

rights.”). The de facto destruction of the rights that the States possess under the Louisiana

injunction thus readily satisfies the protectable interest and potential impairment requirements.

And that threatened destruction likewise establishes standing.

       But, in any event, the States possess Article III standing in this controversy based on all of

the evidence that they have submitted—particularly when weighed against the complete absence

of contrary evidence offered by Existing Parties, including the evidence from two prior cases that

found State(s) had standing in Title 42 challenges, and the Ortiz Deposition. And the States further

have protectable interests in securing compliance with APA notice-and-comment rulemaking

requirements before Title 42 is Terminated, which they have already vindicated with the Louisiana

injunction.

       The States’ motion to intervene is also timely under the Supreme Court’s decisions in




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United Airlines, Inc. v. McDonald, 432 U.S. 385 (1977) and Cameron v. EMW Women’s Surgical

Ctr., P.S.C., 142 S. Ct. 1002 (2022). Here the States moved to intervene a mere six days after it

became apparent that Defendants “would no longer” defend Title 42 meaningfully, and instead

intended to acequisce in a delayed termination beginning on December 21. United Airlines, 432

U.S. at 394. And the States’ motion was filed a day before the deadline to appeal began running,

and thus was plainly “within the time period in which the named plaintiffs could have taken an

appeal.” Id. at 395-96.

        The States’ minimal burden in demonstrating the inadequacy of Federal Defendants’

representation here is also readily satisfied: Federal Defendants have expressly disavowed seeking

a stay pending appeal, and have instead acquiesced in termination of Title 42 occuring on

December 21, which will cause the States’ extensive harms (which Federal Defendants conceded

in the Louisiana case). That knowing infliction of harms upon the States readily satisfies their

minimal burden here.

        Finally, permissive intervention should be granted even if the requirements for intervention

as of right were not satisfied. All the requirements for permissive intervention are met here, and a

favorable exercise is warranted so that this case can be decided on the merits, rather than through

the expedient of collusive surrender.

                                          ARGUMENT

I.      THE STATES HAVE SATISFIED ALL REQUIREMENTS FOR INTEREVENTION AS OF RIGHT

        Here the States have established all of the requirements for intervention as of right here.

Notably, the potential impairment requirement does not appear to be contested. And the protectable

interest/Article III standing, timeliness, and inadequate representation factors are all readily

satisfied here too.




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       A.      The States Have Protectable Interests And Article III Standing Here

       The issue of whether termination of Title 42 will cause the States cognizable harm does

not come to this on a blank slate. Instead, that precise issue was hotly contested in the Louisiana

case, and squarely resolved in the States’ favor in a lengthy opinion. 2022 WL 1604901, at *10-

16. The States have provided that same evidence here, as well as the evidence found sufficient to

create standing in Texas v. Biden, 589 F. Supp. 3d 595, 610-13 (N.D. Tex. 2022), and also 30(b)(6)

deposition testimony of Border Patrol Chief Raul Oritz, who provided party admissions binding

against DHS that further support the States’ standing here. The combination of all of this evidence

makes plain that the States have Article III standing to challenge the de facto termination of Title

42 occasioned by this Court’s judgment, and presently stayed until December 21.

       But this Court need not even reach that issue because the States’ protectable interests here

can be resolved even more readily based on the Louisiana preliminary injunction alone. That

injunction conveys rights to the States that this Court’s judgment will concededly impair. That

alone resolves the “protectable interest” inquiry in favor of the States here. Moreover, the States’

rights under the APA to participate in notice-and-comment rulemaking—a right they were entitled

to exercise before termination of Title 42 and which the Louisiana injunction protects—further

provides a protectable interest supporting standing.

               1.      The States Have A Protectable Interest In The Louisiana Injunction
                       They Obtained, Which Would Be Destroyed By This Court’s Judgment

       The Moving States here have rights under the Louisiana injunction, which Existing Parties

concede would be mooted/eliminated if this Court’s judgment becomes effective. That readily

resolves the protectable interest and potential impairment requirements for intervention as of right.

       The Louisiana injunction creates important rights for the States—rights enforceable even

through contempt. See, e.g., NBA, 56 F.3d at 871-72 (“A preliminary injunction confers important



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rights.”); Lindland v. U.S. Wrestling Ass’n, Inc., 227 F.3d 1000, 1003 (7th Cir. 2000); In re Y & A

Grp.   Sec.   Litig.,   38   F.3d   380,   382   (8th   Cir.   1994)    (“[T]he   All   Writs    Act

indirectly confers on injunction beneficiaries the right to judicial enforcement.”). Indeed, the

Louisiana injunction is even a judgment under Rule 54 and it creates rights strong enough to justify

injunctions against parallel suits notwithstanding the Anti-Injunction Act. NBA, 56 F.3d at 871-

72.

       Notably, the rights that the States possess under the Louisiana injunction are independent

from the underlying merits—Federal Defendants are bound to that injunction even if the Western

District of Louisiana’s standing holding were erroneous (which it was not): “An injunction duly

issuing out of a court of general jurisdiction with equity powers … must be obeyed by [the enjoined

parties], however erroneous the action of the court may be, even if the error be in the assumption

of the validity of a seeming, but void law going to the merits of the case.” United States v. United

Mine Workers of Am., 330 U.S. 258, 293-94 (1947) (cleaned up). Ultimately, “until [the injunction]

decision is reversed for error by orderly review, either by itself or by a higher court, its orders

based on its decision are to be respected, and disobedience of them is contempt of its lawful

authority, to be punished.” Id. at 294.

       Thus, even if all of Existing Parties’ standing arguments were correct (which they are not),

the rights that the States possess under the Louisiana injunction continue to exist until either the

Fifth Circuit or Supreme Court reverses that injunction. Until then, the States hold rights under the

Louisiana injunction that qualify as protectable interests, which could be impaired—indeed will

be effectively destroyed—by this Court’s judgment if it becomes operative.

       The States thus possess a protectable interest here, and further possess Article III standing

given the cognizable injury that mooting of the Louisiana injunction will necessarily occasion.




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       Existing Parties’ responses to these protectable interests are scant and unavailing. Federal

Defendants contend (at 14) that “[t]he fact that the Louisiana suit could be rendered moot by this

Court’s November 15 order by no means shows that Proposed Intervenors’ procedural rights are

impaired.” But that contention is offered completely without any supporting citation, and is nothing

more than a naked ipse dixit. Moreover, that argument ignores that it is not merely the “Louisiana

suit [that] could be rendered moot,” but rather also the injunction issued in that suit that would also

be mooted. And that injunction further secures the States’ underlying interests here.

       Federal Defendants never explain why the Louisiana injunction does not establish

protectable rights. But what could they say?

       Plaintiffs similarly contend (at 19) that “[t]he States cannot manufacture a legally protected

interest in this case merely because they have sued over that subsequent CDC termination

decision.” But once again, it is not “merely” that the States “have sued,” but that they have done

so and obtained an injunction, which is an indendent source of rights. Plaintiffs never explain how

that injunction does not create protectable interests, instead pretending that the States have done

nothing more than “merely” bringing suit.

       A simple example demonstrates the flaw in Existing Parties’ arguments. Suppose that the

Fifth Circuit were to reverse issuance of the Louisiana injunction. Under Existing Parties’

arguemnts, that reversal would cause the States no cognizable injury and they thus would lack

standing to seek Supreme Court review because they had no protectable/cognizable interests in the

injunction that they originally obtained but was subsequently reversed by the intermediate

appellate court. But that is simply not the law. Indeed, standing to seek Supreme Court review is

so self-evident in that posture so as to be beyond the need for analysis or even mention. See, e.g.,

Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2381 (2021) (reversing Ninth Circuit’s




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reversal of injunction issued by district court without even mentioning whether Plaintiffs, whose

injunction was eliminated by the Ninth Circuit’s decision, had Article III standing to seek Supreme

Court review).

        So it is here too: the potential destruction of the Louisiana injunction, and the rights that

the States possess under it, that this Court’s judgment would effectuate establishes both Article III

standing for, and the protectable interests of, the States.

                 2.     The States Have Protectable Procedural Rights

        The States also have protectable interests in participating in notice-and-comment

rulemaking and preventing Federal Defendants from circumventing APA notice-and-comment

requirements. That same interest supported entry of the Louisiana injunction.

        Because that injunction has issued, the States also have protectable procedural interests in

preventing Defendants from using procedural artifices to circumvent that injunction and the APA

notice-and-comment requirements it is enforcing: An injunction cannot “be avoided on merely

technical grounds” so long as its thrust gives litigants “fair warning of the acts that it forbids.”

United States v. Christie Indus., Inc., 465 F.2d 1002, 1007 (3d Cir. 1972). Indeed, a court may

“find a breach of the decree in a violation of the spirit of the injunction, even though its strict letter

may not have been disregarded.” Inst. of Cetacean Rsch. v. Sea Shepherd Conservation Soc’y, 774

F.3d 935, 949 (9th Cir. 2014); accord Youakim v. McDonald, 71 F.3d 1274, 1283 (7th Cir. 1995)

(A party’s conduct may “violate an injunction if it threatens the spirit if not the literal language of

the earlier order”).

        Here, Defendants’ actions violate the States’ protectable interests in securing APA notice-

and-comment compliance before the Title 42 orders are terminated, as well as their procedural

interest in avoiding circumvention of the Louisiana injunction that they obtained.

        It would be one thing if Federal Defendants were litigating this case to judgment and


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through the chain of federal courts, and acquiesced in defeat only after full appellate review. That

would not violate the spirit and thrust of the Louisiana injunction, and would not constitute an

improper end-run around notice-and-comment requiremnets.

       But that has not occurred here. Instead, through collusive agreement with Plaintiffs, Federal

Defendants have managed to recreate the enjoined Title 42 Termination Order to a “T”: that

agreement not only provides for effective termination of Title 42, but also secures a delayed

effective date of the termination that DHS always insisted upon—just like the Termination Order.

And also just like the Termination Order, Federal Defendants have secured that preferred outcome

without undergoing notice-and-comment rulemaking.

       Through their collusive bargain that recreates all of the essential features of the (enjoined)

Termination Order, Defendants have violated both the spirit and thrust of the Louisiana injunction,

as well as the underlying procedural interests in participating in notice-and-comment rulemaking

that the Louisiana injunction was issued to secure.

       Plaintiffs are thus wrong in contending (at 19) that “the States’ choice to bring a procedural

APA challenge to the termination decision, which is not at issue here, cannot supply the missing

legally protected interest in this case.” The States’ interest in securing Defendants’ compliance

with APA notice-and-comment requirements, which is secured by the Louisiana injunction,

applies to all actions that violate the spirit of that injunction—including Defendants’ end-run

around notice-and-comment rulemaking through the expedient of strategic surrender here.

               3.      The States Have Article III Standing And Protectable Interests In This
                       Suit

       Even aside from the States’ rights under the Louisiana injunction and their procedural

interests in securing CDC compliance with APA notice-and-comment requirements and avoiding

circumvention of the spirit of the Louisiana injunction, the States also have Article III standing in



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the underlying case here. Notably, the Western District of Louisiana has already squarely held that

termination of the Title 42 Orders would injure the States in a manner that confers Article III

standing. Louisiana, 2022 WL 1604901, at *13-14. The same result should obtain here a fortiori

given: (1) the applicable standard of review, which requires accepting the States’ allegations as

true, (2) the additional evidence submitted here and lack of any contrary evidence, and (3) the lack

of response to the Ortiz deposition. And Existing Parties’ request for this Court to reach a different

determination on an even stronger record based on putative differences in circuit precedent is

unavailing. As is Existing Parties’ attempt to deny that the States enjoy “special solicitude” in the

standing analysis here.

       Standard of Review. Existing Parties’ arguments notably flout the applicable standard of

review here. “Courts are to take all well-pleaded, nonconclusory allegations in the motion to

intervene, the proposed complaint or answer in intervention, and declarations supporting the

motion as true absent sham, frivolity or other objections.” Connecticut v. DOI, 344 F.Supp.3d 279,

296 (D.D.C. 2018) (citation omitted); accord Foster v. Gueory, 655 F.2d 1319, 1324 (D.C. Cir.

1981) (“[M]otions to intervene are usually evaluated on the basis of well pleaded matters in the

motion, the complaint, and any responses of opponents to intervention.”).

       This has particular force here as most of Defendants’ challenges to the States’ standing

deal with traceability. “Article III [traceability] ‘requires no more than de facto causality.’”

Department of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019) (citation omitted). And the

States’ allegations and arguments, if accepted as true, easily establish that much, particularly as

“[t]he ‘but-for causation inquiry’ is ‘purely a question of fact.’” Anthoine v. N. Cent. Cntys.

Consortium, 605 F.3d 740, 752 (9th Cir. 2010) (citation omitted); accord Davis v. United States,

670 F.3d 48, 53 (1st Cir. 2012); Grand Canyon Tr. v. Bernhardt, 947 F.3d 94, 96 (D.C. Cir. 2020).




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As a result, all of Existing Parties’ arguments that refuse to accept the truth of the States’

allegations/arguments/evidence are simply out of bounds for present purposes.

       Additional Evidence and Lack of Contrary Evidence. The States’ evidence is notably even

stronger here than it was in Louisiana, as it is supplemented by the (1) Texas standing evidence,

(2) the Manning Declaration, and (3) the Ortiz deposition. Neither Plaintiffs nor Defendants even

attempt to answer the Ortiz declaration, which alone demonstrates the States’ standing as

previously explained (at 11-12). Nor do either attempt to address any of the Texas evidence. See

Mot. at 12-13.

       Federal Defendants protest (at 16) that, given the timing, “the parties will not have a

meaningful opportunity to challenge this alleged evidence or provide contrary evidence of their

own.” That is specious. Federal Defendants were also defendants in Louisiana and Texas, as well

as the suit that the Ortiz declaration was taken in, and had ready access to all of the evidence in all

of those cases. They could easily have assembled and submitted their own evidence from those

cases here had they been so inclined. They simply weren’t, and instead elected to allow all of the

States’ evidence to go entirely unrebutted by any evidence from Existing Parties. In doing so,

Existing Parties have all but conceded Article III standing.

       Governing Law. Existing Parties do not appear to contest meaningfully that the States have

Article III standing to challenge the termination of Title 42 under Fifth Circuit precedent. But they

suggest that D.C. Circuit precedent is somehow fundamentally different. See Fed Opp. at 10-13;

ACLU Opp. at 5-12. It is not.

       Existing Parties place heavy reliance on Arpaio v. Obama, 797 F.3d 11, 14 (D.C. Cir.

2015). But that case is both distinguishable and, if Existing Parties’ reading of it were correct,

overruled by intervening authority. In Arpaio, the plaintiff, an Arizona county sheriff, challenged




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DACA and DAPA and argued that he had standing based on what he alleged would be a resulting

increase in migration by those to whom DACA and DAPA did not apply and, in turn, alleged

concomitant increase in crime. Arpaio, 797 F.3d at 21-22. That rested on unsupported speculation

that migrants ineligible for DACA or DAPA status would nonetheless migrate illegally into the

United States as a result of policies that did not apply to them.

       No such speculation is required here. The Supreme Court has made plain that states can

establish Article III standing based on the “predictable effect of Government action on the

decisions of third parties.” New York, 139 S. Ct. at 2566. And here DHS itself has made just such

a prediction, estimating that elimination of the Title 42 system “will result in an increase in daily

border crossings and that this increase could be as large as a three-fold increase to 18,000 daily

border crossings.” Louisiana, 2022 WL 1604901, at *22. Where Federal Defendants themselves

have admitted that a particular injury-causing result is the “predictable effect of Government action

on the decisions of third parties,” New York, 139 S. Ct. at 2566, there simply is no basis for denying

standing here. And to the extent that Arpaio might provide differently (although correctly read, it

doesn’t), it would have been overruled by New York’s unanimous “predictable effect” standard.

Moreover, the States’ injuries here are far less downstream than in New York.4


4
  In New York, the plaintiff states asserted that the inclusion of a citizenship question on the Census
form would lead to those states losing federal funds. Id. at 2565. But several things would have to
happen first for that to occur. First, individuals would have to refuse to fill out the Census—which
is a federal crime. 13 U.S.C. §221. And the criminal actions of third parties often eliminate
proximate cause, Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 457-58 (2006), but not standing.
Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6 (2014) (“Proximate
causation is not a requirement of Article III standing[.]”).
  But even non-completion would cause New York and the other plaintiff states no harm on its
own. Second, Congress or federal agencies would need to adopt funding formulas based on Census
data. New York, 139 S. Ct. at 2565. And even then, third, New York would likely only be harmed
if the non-completion rates were relatively higher in New York than the rest of the U.S. If, for
example, the challenged question caused completion rates to go down nationally by 10% but only
down 5% in New York, New York would likely receive more federal funds as a result of its

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       Once the Defendants’ own estimates of surging migration are considered, it is simple math

that the States will have to spend additional moneys on education, healthcare, and law

enforcement. See, e.g., Texas v. Biden, 20 F.4th 928, 969 (5th Cir. 2021) overruled on other

grounds 142 S. Ct. 2528 (2022) (Explaining that “if the total number of in-State aliens increases,

the States will spend more on healthcare” (cleaned up)). Such costs readily establish standing.5

       More generally, D.C. Circuit precedent is also highly favorable to establish the States’

standing here. That court, for example, has permitted downstream injuries resulting from third

party actions to suffice, finding state standing based on “harm … due to unlawful emissions from

upwind states.” New Jersey v. EPA, 989 F.3d 1038, 1047 (D.C. Cir. 2021) (collecting cases). The

D.C. Circuit further “has ‘frequently upheld claims of standing based on allegations of a



relatively greater population count. But despite being downstream of all of those contingencies
and hypothesized third-party law breaking, the Supreme Court still unanimously held that the State
had Article III standing. Id. at 2565.
5
   Existing Parties’ reliance on Arizona v. Biden, 40 F.4th 375, 386 (6th Cir. 2022) is also
unavailing. That decision denied standing because the States’ injuries were “‘capable of estimate
in money.’” Id. at 386 (quoting Massachusetts v. EPA, 549 U.S. 497, 518-19 (2007)). But New
York makes clear that is simply wrong, as the Supreme Court unanimously found standing
premised on potential loss of federal funds—i.e., money. New York, 139 S. Ct. at 2565.
  More generally, money is fungible, and there is thus no difference in economic substance
between losing federal funds and being forced to expend additional state funds as a result of illegal
federal government action. Nor can the Sixth Circuit’s “capable of estimate in money” reasoning
withstand scrutiny. Arizona, 40 F.4th at 386. Notably, the Bay State’s alleged injuries in
Massachusetts were the alleged loss of coastal lands. But land is eminently “capable of estimate
with money”—appraisers literally do that every day. On the flipside of the coin, the States’ harms
here are not so easily measurable in money either. If, for example, the forced diversion of State
healthcare resources causes a diagnosis of treatable cancer in one of the States’ citizens to be
missed, is that resulting avoidable cancer death readily “capable of estimate with money”? The
Sixth Circuit certainly thought so, but only by abstracting the injuries and improperly analogizing
the States to mere private companies.
  More fundamentally, the Sixth Circuit’s States-are-no-different-than-private-companies
reasoning would likely be perfectly correct for a unitary state, such as the United Kingdom or New
Zealand. There, provincial and local governments really are nothing more than artificial legal
entities chartered by the national government and completely subject to that government’s control.
But that is not our system.


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‘substantial risk’ of future injury.’” Id. (citation omitted). Here, DHS’s own projections of an

enormous resulting surge in unlawful migration establish just such a “substantial risk of future

injury.” That is particularly true as States “bear[] many of the consequences of unlawful

immigration.” Arizona v. United States, 567 U.S. 387, 397 (2012).

        Indeed, within this circuit it is now “well-established standing precedent [that] it suffices

to point to ‘third party conduct that is voluntary but reasonably predictable.’” New Jersey, 989

F.3d at 1049 (citation omitted). Here DHS has made such reasonable predictions, as has Border

Patrol Chief Ortiz, whose admissions are binding on Federal Defendants as party admissions from

his 30(b)(6) deposition.

        Special Solicitude. The States are also entitled to “special solicitude” in the standing

analysis here. Massachusetts, 549 U.S. at 520. Just as in Massachusetts, the States have a quasi-

sovereign interest at stake: i.e., their “quasi-sovereign interest[s] in the health and well-being—

both physical and economic—of its residents in general.” Alfred L. Snapp & Son, Inc. v. Puerto

Rico, 458 U.S. 592, 607 (1982). By diverting the States’ healthcare, education, and law

enforcement resources as a result of the surge in unlawful immigration that DHS predicts will

occur once Title 42 is terminated, those quasi-sovereign interest are impaired, just as in

Massachusetts. 549 U.S. at 520 (permitting Massachusetts to assert its “stake in protecting its

quasi-sovereign interests” and not merely sovereign interests (emphasis added)). Moreover, the

States submitted evidence of environmental harm here. See Ex. 3, Mot. at 14 n.3. That further

establishes the States’ standing. See Georgia v. Tenn. Copper Co., 206 U.S. 230, 237 (1907)

(“[T]he state has an interest independent of and behind the titles of its citizens, in all the earth and

air within its domain. It has the last word as to whether its mountains shall be stripped of their

forests and its inhabitants shall breathe pure air.”).




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       Federal Defendants’ attempt (at 12) to limit Massachusetts to a state asserting an “interest

in preserving its ‘sovereign territory’” is thus unavailing: Massachusetts is perfectly clear that it

extends to situations where, as here, the States assert “quasi-sovereign interests.” Id.

       Existing Parties appear to suggest that the chain of causation was less attenuated in

Massachusetts than here. Not so. In Massachusetts, the state had premised standing on EPA’s non-

regulation of carbon emissions in the transportation sector over the course of the next century,

which would allegedly affect Massachusetts’s coastline in unknowable amounts and places, in the

teeth of international carbon emissions beyond the scope of any conceivable federal regulation;

moreover, the regulations that EPA would issue if Massachusetts won were completely unknown

and unknowable (and still not all that clear 15 years later); but all of that uncertainty did not

preclude Article III standing. Massachusetts, 549 U.S. at 521-26.

       Massachusetts’s injuries were thus not just downstream of innumerable third parties (e.g.,

drivers’ decisions and preferences, foreign nations’ and corporations’ decisions) and unknown

federal regulations, but also of immense amounts of time. But Massachusetts’s injuries were

nonetheless cognizable because “U.S. motor-vehicle emissions [would] make a meaningful

contribution to greenhouse gas concentrations.” Id. at 525 (emphasis added).

       Here, the causal chain is far less attenuated. DHS itself has projected that termination of

Title 42 will, almost instantly, cause as much as a “three-fold increase to 18,000 daily border

crossings.” Louisiana, 2022 WL 1604901, at *22. Those harms are not traced over a century

through unknowable regulations, foreign nations’ actions, and innumerable other contingencies,

as was the case in Massachusetts. Article III standing is thus established here a fortiori.

       B.      The States’ Motion to Intervene Is Timely.

       The States’ motion to intervene meets each of the tests by which courts typically assess

timeliness. First, the States quickly sought intervention after it became apparent that the Federal


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Government would abandon its defense of Title 42, and did so well within the time for the parties

to appeal. The Supreme Court’s decisions in United Airlines and Cameron therefore compel a

conclusion that the States’ motion is timely here. Second, the parties were not prejudiced by the

minimal time it took the States to seek intervention.

               1.      Petitioners Timely Sought To Intervene After The Federal Government
                       Stopped Vigorously Defending The Title 42 Orders

       Whether a putative intervenor has filed a timely motion under Rule 24(a) “is to be

determined from all the circumstances.” NAACP v. New York, 413 U.S. 345, 366 (1973). The

proposition that the States should have sought to intervene before the United States abandoned

defense of Title 42 contravenes the Supreme Court’s decision in United Airlines. That decision

recognizes two benchmarks to judge timeliness—both of which confirm that intervention was

timely here.

       The first United Airline benchmark focuses on the “critical fact” of how quickly would-be

intervenors acted once it became clear that existing parties “would no longer” protect their

interests. United Airlines, 432 U.S. at 394. In that case, a member of a putative class (Liane

McDonald) learned that class counsel “plaintiffs did not now intend to file an appeal challenging

the District Court’s denial of class certification[.]” Id. at 390. McDonald therefore filed a motion

to intervene shortly “after the District Court’s final judgment.” Id. In doing so, “she promptly

moved to intervene” as “soon as it became clear to the respondent that the interests of the unnamed

class members would no longer be protected by the named class representatives.” Id. at 390, 394.

       The States’ motion is timely under this standard. Once it became apparent that Federal

Defendants intended to acquiesce in a termination of Title 42 Orders beginning on December 21,

the States moved to intervene within a mere six days—i.e., even faster than in United Airlines.

This United Airlines factor thus all-but compels a conclusion that the States’ motion is timely.



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       So too does the other United Airlines benchmark, which considers whether a party “filed

[its] motion within the time period in which the named plaintiffs could have taken an appeal,” and

if so, “the [party’s] motion to intervene was timely filed[.]” United Airlines, 432 U.S. at 395-96

(emphasis added); see also U.S. ex rel. McGough v. Covington Techs. Co., 967 F.2d 1391, 1394

(9th Cir. 1992) (“The ‘general rule [is] that a post-judgment motion to intervene is timely if filed

within the time allowed for the filing of an appeal.’”).

       Here, the States filed their motion to intervene one day before this Court entered final

judgment on November 22. See Doc. 170. The States thus not only intervened “within the time

period in which the named plaintiffs could have taken an appeal,” United Airlines, 432 U.S. at

395-96, they actually moved so quickly that the appeal deadline clock had not even begun running.

       United Airlines is thus entirely dispositive of the timeliness inquiry. But the Federal

Government does not even mention United Airlines once, even though the States prominently cited

it (at 9 & 10). And the Plaintiffs mention it only in passing (at 18), without meaningfully addressing

how it makes clear that timeliness is measured by when it becomes clear that existing parties

“would no longer” protect their interests. United Airlines, 432 U.S. at 394—which here was on

November 15 (see Doc. 166), when Federal Defendants abandoned their vigorous defense of Title

42 orders and instead acquiesced in termination beginning on December 21.

       If the Existing Parties had any way of answering or distinguishing United Airlines, they

would have provided it. They don’t, and instead silently ask this Court to violate it.

       The Federal Government claims that the States’ motion is untimely because the States

should “ha[ve] filed their motion sooner, either immediately after CDC issued its April 1

Termination Order or, at a minimum, after the government notified Proposed Intervenors of

Plaintiffs’ motion for partial summary judgment in mid-August.” (Doc. 174.) But at that point in




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time, the States had no reason to believe that the Federal Government would stop defending itself

in this action. Indeed, if the States had tried to intervene then, both Plaintiffs and Defendants

undoubtedly would have opposed, arguing that the Federal Government adequately represented

the States’ interests, given the Federal Government’s opposition to summary judgment. Nor do the

parties even bother to argue otherwise or deny the Catch-22 inherent in their arguments.

       Indeed, the Federal Government’s prior actions in this case gave every indication that it

intended to continue defending this case. When this Court issued an adverse ruling against the

Federal Government on September 16, 2021 and granted the Plaintiffs’ motion for preliminary

injunction (Doc. 122 and 123), the Federal Government filed its notice of appeal the very next day.

(Doc. 124.) And they then vigorously sought, and successfully obtained, both a stay pending

appeal and reversal on the merits. Huisha-Huisha v. Mayorkas, 27 F.4th 718, 726 (D.C. Cir. 2022).

The States were thus not on notice of their need to intervene until November 15, and intervened a

mere six days later.

       Furthermore, the State of Texas did attempt to intervene on the early timetable that the

Plaintiffs and Defendants now advocate for (in hindsight). Huisha Huisha v. Mayorkas, 21-cv-

5200, Doc. No. 1917572 (D.C. Cir. Oct. 11, 2021). There, both Existing parties argued that the

Federal Government adequately represented Texas’s interests. See Huisha Huisha, Docs. 1918396

& 1918415 (filed Oct. 15, 2021). And they prevailed on their opposition. Existing Parties’

arguments that the States could have intervened earlier are thus likely barred by judicial estoppel.

See, e.g., New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“[J]udicial estoppel, ‘generally

prevents a party from prevailing in one phase of a case on an argument and then relying on a

contradictory argument to prevail in another phase.’” (citation omitted)). And even if not, those

were party admissions that intervening earlier would not have been possible, given their successful




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opposition to earlier intervention.

       The States thus had no reason to continue seeking intervention in a case in which their

intervention had already been denied without a material change in circumstance. Such a change

only occurred here on November 15, when Defendants refused to seek a stay for any purpose other

than acquiescing in defeat and termination of Title 42 orders.

       Additionally, if this Court were to find that the States should have intervened earlier—

when the United States was still defending Title 42—it would invite inefficiencies, and essentially

require would-be intervenors to seek intervention both early and often. This would not only be a

substantial waste of resources for courts and parties, but it would likely also be barred by Rule 24

itself, which requires that an intervenor demonstrate that its interests are not adequately protected.

See Fed. R. Civ. P. 24(a)(2). Even so, interested parties would likely feel compelled to move to

intervene in a host of cases so that they cannot be later accused of intervening too late. If courts

denied those motions, interested parties would then need to keep filing seriatim motions to

intervene upon any new hint of inadequate representation. And they would do so until intervention

was granted or the case reached final conclusion.

       Because the States “sought to intervene ‘as soon as it became clear’ that [their] interests

‘would no longer be protected’ by the parties in the case,” they thus satisfied the “most important

circumstance relating to timeliness.” Cameron, 142 S. Ct. at 1012. In Cameron, the Sixth Circuit

denied intervention by Kentucky’s attorney general as untimely, but the Supreme Court reversed

by a lopsided 8-1 majority. There, as here, “the attorney general sought to intervene [as the State]

‘as soon as it became clear’ that the [State’s] interests ‘would no longer be protected’ by the parties

in the case.” 142 S. Ct. at 1012. There, again as here, the motion to intervene was filed within the

relevant deadline to seek further appellate review. Id. And further, as here, “[t]he attorney general’s




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need to seek intervention did not arise until [the defendant] ceased defending the ... law, and the

timeliness of his motion should be assessed in relation to that point in time.” Id. Cameron thus

further compels a conclusion that the States’ motion to intervene here is timely.

       Furthermore, as Justice Kagan emphasized in Cameron, a court considering a government

official’s motion to intervene should take account of “real-world” facts, including the shifting

sands of politics. Cameron, 142 S. Ct. at 1018 (Kagan, J., concurring). Here, as in Cameron, the

State’s motion to intervene was in “response to a major shift in the litigation,” id. at 1018: the

Federal Government’s decision not to seek a stay pending appeal, coupled with its refusal to say

whether it would seek further review. In light of those real-world facts, the States have a strong

reason for intervening. To paraphrase Justice Kagan in Cameron, the States “belong[] in the suit,

absent some good cause to exclude [them].” Id.

       The Supreme Court’s decisions in United Airlines and Cameron thus require a

determination that the States’ motion to interene is timely.

               2.      Existing Parties Will Not Suffer Any Cognizable Prejudice From The
                       States’ Intervention

       More generally, this motion presents no prejudice to the other parties. See Sierra Club v.

Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (holding that the “requirement of timeliness is ... a guard

against prejudicing the original parties”). Intervention here only ensures that this case and others

will be resolved on the merits, rather than through abdication. Denying the parties a potential

opportunity to obtain their desired ends through the contrivance of surrender inflicts no cognizable

prejudice. Instead, the parties’ positions will be “essentially the same as it would have been” had

the States intervened earlier in the proceedings. U.S. ex rel McGough, 967 F.2d at 1395.

       The only prejudice Plaintiffs and Defendants even attempt to claim is “rushed briefing”

(Doc. 174 at 17) and “delay of the end of the Title 42 policy” because the States intend to seek a



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stay pending appeal. (Doc. 175 at 1, 21.). But they offer no citation for the proposition that an

abbreviated briefing deadline constitutes actual prejudice. And the same type of briefing would

have occurred, and the same arguments would have been made, if the States had intervened earlier.

       Furthermore, even if the States had intervened earlier, they would still have sought a stay

pending appeal, and thus potentially delayed the end of the Title 42. Earlier intervention by the

States would not have changed this. And a supposed delay in finally resolving the case—due to

the time needed to pursue further appellate review—does not constitute a cognizable prejudice. To

the contrary, intervention is often granted precisely to enable a full appellate review. E.g., Day v.

Apoliona, 505 F.3d 963, 965-66 (9th Cir. 2007) (recognizing lack of prejudice from intervention

after panel opinion was issued and stating “the practical result of [the State’s] intervention—the

filing of a petition for rehearing—would have occurred whenever the state joined the proceedings”

and noting that allowing intervention “will ensure that our determination of an already existing

issue is not insulated from review simply due to the posture of the parties.”).

       Finally, as already discussed above, the States are prejudiced by not being permitted to

intervene, in three ways: procedurally in this litigation, administratively in future rulemakings, and

fiscally through the costs the States must bear if Title 42 is rescinded.

       C.      The States’ Interests Are Not Adequately Represented.

       The States’ interests will not be adequately represented by the Existing Parties. Even when

“there may be a partial congruence of interests, that does not guarantee the adequacy of

representation.” Fund For Animals, Inc. v. Norton, 322 F.3d 728, 737 (D.C. Cir. 2003). This is

especially so when there are “divergent state and federal interests at issue.” Accrediting Council

for Indep. Colleges & Sch. v. Devos, No. CV-16-2448, 2017 WL 11579470, at *5 (D.D.C. Aug.

31, 2017). And here, because there is not even a “partial congruence,” the Existing Parties will not

adequately represent the States’ interests.


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       An intervenor’s burden to show that its interests will not be adequately represented by

existing parties, Fed. R. Civ. P. 24(a)(2), is “minimal” and “not onerous.” Fund For Animals, Inc.,

322 F.3d at 735 (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n. 10 (1972) and

Dimond v. District of Columbia, 792 F.2d 179, 192 (D.C.Cir.1986)). Thus, an intervenor need only

show “that representation of [its] interest ‘may be’ inadequate. Id. (quoting Trbovich, 404 U.S. at

538 n.10) (emphasis added). The States easily satisfy this forgiving standard here, where Plaintiffs’

position has always been directly opposed to the States’ interests and where the Federal

Government has now unambiguously abdicated any further defense of Title 42, and indeed

affirmatively acquiesced in termination effective December 21. The States’ protectable interests

in the continued application of Title 42 are thus not adequately represented by the Existing Parties.

       Plaintiffs argue (at 21-23) that because the States agreed that the Federal Government

would adequately represent the interests of a proposed intervenor in the Louisiana v. CDC case,

that this somehow forecloses the States’ ability to argue that the Federal Government will not

represent the States’ interests here. In Plaintiffs’ telling, because the Federal Government did not

seek a stay pending appeal in Louisiana, and because the States supported the Federal

Government’s decision there, the States cannot now argue here that the Federal Government’s

failure to seek a stay pending appeal in this case is inadequate representation. That argument is

illogical for multiple reasons.

       First, the States’ interests here are different than the interests of the intervenors in

Louisiana. The consequences of the Federal Government’s decision not to seek a stay pending

appeal in that case is not in any way comparable to the consequences here, where the Federal

Government’s own assessments predict that illegal border crossings could triple immediately and

continue at that elevated level for a sustained period of time.




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       Second, there is a fundamental factual difference here as compared to Louisiana. In that

case, the Federal Government filed a notice of appeal on the same day that the district court issued

its preliminary injunction in that case. See, Louisiana v. CDC, No. 22-CV-00885, ECF Nos. 90

and 91 (W.D. La. May 20, 2022) (memorandum ruling and order granting preliminary injunction)

and Id. ECF No. 92 (W.D. La. May 20, 2022) (Federal Government notice of appeal, filed the

same day). Furthermore, the Federal Government committed to “vigorously defend[] the [Title 42]

termination order” at issue in that case. CDC v. Louisiana, No. 22-30303, Doc. No. 00516355391

at 12 (5th Cir. Jun. 13, 2022) (Federal Government’s Opposition to Proposed Intervenor’s Motion

for a Stay Pending Appeal). No such commitment is remotely discernable here.

       On the other hand, in this case, the Federal Government has been coy about its intent to

appeal. But even if it were to appeal, this would do nothing to avert the impending catastrophe at

the border, since the Federal Government has made clear that it will not seek a stay pending appeal.

       Moreover, the purported indecision that Federal Defendants portrayed to this Court about

whether it intends to appeal appears to be nothing more than performance art. In a filing in the

Louisiana case, the Federal Government tipped its hand and made clear it has no intent to appeal

here. Rather, it stated explicitly that it intends to let Title 42 definitively expire, and that it will

expire on December 21 without any disclosed contingencies, such as an appeal.

       Specifically, the Federal Government made the following representations to the Western

District of Louisiana: “Once the five-week stay expires and the Huisha-Huisha order becomes

effective at midnight on December 21, 2022, CDC’s Title 42 orders will be vacated, and there will

thus be no legal authority for the government to continue to enforce the Title 42 policy.

Accordingly, as of 12 A.M. EST on December 21, DHS will begin processing all noncitizens

entering the United States pursuant to Title 8.” Louisiana, No. 22-CV-00885, ECF No. 164




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(emphasis added) (Notice of Decision Vacating Title 42 Orders). In doing so, Defendants did not

even hint at the possibility of appeal, and instead cast the termination of Title 42 being effective

on December 21 as an absolute certainty without any disclosed contingencies (such as them

appealing).

       It thus rings hollow for the federal government to claim that the Sates merely have a

“difference of opinion” about “litigation strategy.” (at 17-18 (citation omitted)). Complete

abdication of defense of a case is not a “litigation strategy.” Rather, it is a paradigmatic example

of the kind of inadequate representation that Rule 24 is designed to address.

II.    PERMISSIVE INTERVENTION IS WARRANTED.

       As set forth in the States’ Motion, all of the requirements for permissive intervention are

satisfied here. Existing Parties’ contrary arguments merely recycle their timeliness and

standing/protectable interest arguments, which fail for the reasons set forth above.

       A favorable exercise of discretion is also warranted here. Existing Parties never engage

with the States’ fundamental argument on permissive intervention: i.e., that “the important issues

in this case should be decided on the merits, rather than through surrender.” Mot. at 17.

       At its base, Federal Defendants are intentionally engaging in conduct that they know—and

have elsewhere conceded—will impose costs on the States. See Louisiana, 2022 WL 1604901, at

*6 (explaining that termination of Title 42 “will increase the state’s costs for healthcare

reimbursements. Defendants did not dispute the facts supporting this finding.” (emphasis added)).

Defendants merely (and wrongly) deny the cognizability of those injuries, not their existence. But

they nonetheless contend that the States should be powerless to challenge whether those injuries—

which are concededly and knowingly being forced upon them—are lawful.

       That fails first because the States are entitled to intervene as of right. But even if that were




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not the case, this Court should grant permissive intervention so that the States can challenge the

legality of the costs that Federal Respondents admit will be imposed on the States.

        Those injuries are particularly problematic because they are being inflicted through

collusive surrender, rather than through decision on the merits through appeal. As set forth above,

Federal Defendants are attempting to exploit their litigation loss to achieve objectives that they

could not obtain through rulemaking, given their persistent unwillingness to conduct the notice-

and-comment rulemaking that the APA demands.

        Indeed, Defendants previously recognized that the issues presented here were sufficiently

important that they not only warranted taking an appeal, but also seeking (and obtaining) an

emergency stay pending appeal. See Huisha-Huisha, 27 F.4th at 726. Defendants’ prior appellate

conduct thus underscores why this phase of the case should be subject to appellate review as well,

and thereby militates in favor of granting permissive intervention to ensure that occurs.

        A favorable exercise of discretion is thus warranted to permit the States to challenge the

legality of costs being imposed upon them and to prevent collusive surrender from trumping the

legal merits as the basis for final resolution of this case.

                                           CONCLUSION

        For the foregoing reasons, the States’ motion to intervene should be granted.




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Dated: December 2, 2022                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of December, 2022, I caused the foregoing document

to be electronically transmitted to the Clerk’s Office using the CM/ECF System for Filing, which

will send notice of such filing to all registered CM/ECF users.



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